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 7                        IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,           )
                                         )    2:02-cr-416-GEB
11                     Plaintiff,        )
                                         )
12        v.                             )    ORDER
                                         )
13   DAWANE MALLETT,                     )
                                         )
14                     Defendant.        )
                                         )
15
16               The sentence of Defendant Dawane Mallett was “remanded for
17   further proceedings in light of United States v. Booker, 125 S. Ct.
18   738 (2005), and United States v. Ameline, [409 F.3d 1073 (9th Cir.
19   2005) (en banc)].”
20               The initial question on remand is whether the sentence
21   imposed on Defendant “would have been materially different had the
22   district court known that the Guidelines were advisory. . . .”
23   Ameline, 409 F.3d at 1084. “[T]he ‘views of counsel, at least in
24   writing,’ should be obtained” before this question is answered.          Id.
25   at 1085 (quoting United States v. Crosby, 397 F.3d 103, 120 (2d Cir.
26   2005)).
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 1                Accordingly, each party’s counsel is requested to file views
 2   on this question no later than November 18, 2005.
 3                IT IS SO ORDERED.
 4   DATED:     October 27, 2005
 5                                             /s/ Garland E. Burrell, Jr.
                                               GARLAND E. BURRELL, JR.
 6                                             United States District Judge
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